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 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11

12   SUSAN LLOYD,                                  Case No. 3:21-cv-10075-EMC

13                 Plaintiff,                      DEFENDANTS’ OPPOSITION TO
                                                   PLAINTIFF’S MOTION TO COMPEL
14          v.                                     DEFENDANTS TO HOLD RULE 26(F)
                                                   CONFERENCE
15   FACEBOOK, INC. et al.,
                                                   Date:
16                 Defendants.                     Time:
                                                   Courtroom: Courtroom 5 – 17th Floor
17                                                 Judge:     Hon. Edward M. Chen

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 1   I.       INTRODUCTION

 2            Plaintiff Susan Lloyd’s motion to compel Defendants Meta Platforms, Inc., and Mark

 3   Zuckerberg (together, “Defendants”) to hold a Rule 26(f) conference and for an extension of time

 4   to file a second amended complaint until the Rule 26(f) conference is held (“Motion”), should be

 5   denied because such a conference would be premature and futile under the Court’s General Order

 6   56 and the Federal Rules. Plaintiff’s purpose in undertaking discovery in this matter is evidently

 7   to fix the glaring defects in her First Amended Complaint (“FAC”) by using discovery to file a

 8   second amended complaint. She admits as much in her motion. See Plaintiff’s Motion at 2.

 9   However, pursuant to General Order 56, discovery in this case is stayed because Plaintiff has

10   asserted a claim under the Americans with Disabilities Act (“ADA”). Thus, while Plaintiff

11   asserts that Defendants’ failure to hold a Rule 26(f) conference “has put a stay on this litigation”

12   and “has prevented Lloyd from obtaining discovery,” on the contrary, it is the Court that has

13   stayed all discovery in this matter. Additionally, Defendants have filed a pending Motion to

14   Dismiss Plaintiff’s FAC challenging the sufficiency of Plaintiff’s claims—thus, the Court has yet

15   to even determine whether Plaintiff has alleged a viable claim for relief. Defendants are willing

16   to conduct discovery and hold a Rule 26(f) conference once discovery is permitted and if the

17   Court deems that Plaintiff has alleged any viable claims. Any discovery before then would

18   premature, unproductive, and contradictory to General Order 56. For these reasons, Plaintiff’s

19   Motion must be denied.

20   II.      FACTS

21            Plaintiff filed her original complaint (“Complaint”) against Defendants on December 29,

22   2021, asserting violations of the ADA, the Rehab Act, and the Unruh Act, among other claims.

23   Dkt. No. 1. On May 25, 2022, Defendants moved to dismiss the Complaint, arguing that Plaintiff

24   failed to state a claim for every one of her causes of action, and that Section 230 independently

25   barred many of her claims. Dkt. No. 13. Shortly thereafter, on May 28, 2022, Plaintiff served

26   discovery requests on Meta and sought to have a Rule 26(f) conference. Heath Declaration ISO

27   Opposition to Plaintiff’s Motion to Compel (“Heath Decl.”), ¶ 1, Ex. A. Defendants’ counsel

28   informed Ms. Lloyd that her discovery requests were untimely because the parties had not yet had

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 1   a Rule 26(f) conference, and that such a conference would be premature at this juncture. Health

 2   Decl., ¶ 2, Ex. B.

 3          On May 31, 2022, in an attempt to correct the deficiencies in her original Complaint,

 4   Plaintiff filed her FAC against Defendants, asserting the same causes of action as her Complaint.

 5   See generally FAC, Dkt. 16 (bringing claims for violations of the ADA, Rehab Act, Unruh Act,

 6   as well as for fraud, invasion of privacy, breach of contract, negligence and NIED). Defendants

 7   moved to dismiss Plaintiff’s FAC on June 14, 2022 (“Motion to Dismiss Plaintiff’s FAC”). Dkt.

 8   18. Plaintiff failed to oppose Defendants’ Motion to Dismiss Plaintiff’s FAC, which was due on

 9   June 28, 2022. See Defendants’ Reply ISO Motion to Dismiss Plaintiff’s FAC, Dkt. 24. Instead,

10   on June 23, 2022, Plaintiff Susan Lloyd filed the present Motion. Plaintiff has also filed a Motion

11   to Strike Defendants’ Motion to Dismiss or, in the Alternative, to Convert to Motion for

12   Summary Judgment, which Defendants plan to oppose. Dkt. 23. Counsel for Defendants have

13   since requested to confer with Ms. Lloyd, informing her that General Order 56 stayed all

14   discovery, and suggesting that she withdraw her Motion. Heath Decl., ¶ 3, Ex. C. Plaintiff did

15   not respond. Plaintiff did not otherwise attempt to confer with Defendants prior to filing the

16   present Motion.

17   III.   THE COURT SHOULD DENY PLAINTIFF’S MOTION TO COMPEL
18          The Court should deny Plaintiff’s Motion because any Rule 26(f) conference (and any

19   other discovery) would be premature and futile under both the Federal Rules and General Order
20   56.

21          First, holding a Rule 26(f) conference would be improper at this time because General

22   Order 56 stayed all “discovery, motion practice (except for motions under Rule 12(b) and motions

23   to appear pro hac vice).” General Order 56 applies to any action which assert a denial of right of

24   access by Titles II or III of the ADA. Courts have previously held that General Order 56 applies

25   to stay Rule 26(f) conferences. See, e.g., Yates v. Midway, LLC, No. C11-01273, 2011 U.S. Dist.

26   LEXIS 82626 (N.D. Cal. 2011) (denying motion for relief from “General Order 56 and to proceed

27   with a Rule 26(f) scheduling conference” because “General Order 56 automatically stays suits for

28   ADA violations and institutes an alternative process for resolving ADA cases efficiently”).

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 1   Moreover, it would be futile to hold a Rule 26(f) conference while discovery is stayed—one of

 2   the primary consequences of a Rule 26(f) conference is that discovery can subsequently

 3   commence. FRCP 26(d)(1)). But here, discovery cannot and will not commence until the Court

 4   holds a case management conference and issues a scheduling order, only after the parties engage

 5   in the process laid out in General Order 56. Contrary to Plaintiff’s claim that Defendants are

 6   refusing to participate in discovery to prejudice Ms. Lloyd and delay prosecution of this case,

 7   Defendants are merely cognizant of the fact that Plaintiff has brought an ADA claim, and thus all

 8   discovery is stayed in this matter. Plaintiff’s Motion at 3.

 9          Second, setting aside General Order 56, under the Federal Rules, the parties are not

10   obligated to hold a Rule 26(f) conference until “21 days before a scheduling conference is to be

11   held or a scheduling order is due.” FRCP Rule 26(f)(1). The Court has not held or scheduled a

12   case management conference; thus, the parties are not yet obligated to hold such a conference

13   under the Federal Rules. FRCP Rule 26(f); see also Johnson v. United Cont'l Holdings, Inc., No.

14   C-12-2730 MMC, 2014 WL 12823346, at *1 (N.D. Cal. June 16, 2014) (denying motion to

15   compel Rule 26(f) conference where the plaintiffs “fail[ed] to show why the [ ] conference should

16   be conducted on an earlier date” than 21 days before the scheduling conference).

17          Third, more broadly speaking, where the FAC is challenged by motion practice, “delaying

18   discovery until the claims and defenses in the case are better defined reduces expenses, minimizes

19   the burden of unnecessary discovery, and conserves judicial resources.” In re Morning Song Bird
20   Food Litig., No. 12CV1592-JAH(RBB), 2013 WL 12143947, at *3 (S.D. Cal. Jan. 25, 2013)

21   (denying motion to compel Rule 26(f) conference in view of pending motion to dismiss). Courts

22   frequently deny requests to hold Rule 26(f) conferences where there has been no scheduling

23   conference and where the court has not ruled on the defendant’s motion to dismiss. See Zavala v.

24   Kruse-Western, Inc., 2019 WL 3219254, at *2 (E.D. Cal. July 17, 2019) (denying motion to

25   compel a Rule 26(f) conference where Plaintiff did not show good cause to hold the conference

26   prior “to the Court’s ruling on Defendants’ motion to dismiss); Contentguard Holdings, Inc. v.

27   ZTE Corp., No. 12cv1226–CAB (MDD), 2013 WL 12072533, at *2 (S.D. Cal. Jan. 16, 2013)

28   (denying motion to compel Rule 26(f) conference where motion to dismiss was pending because

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 1   it “would be inefficient and cause unnecessary expense for the parties to engage in discovery on

 2   claims that may not survive and defenses and counterclaims that may not be asserted”).

 3           Lastly, Plaintiff has not attempted to confer in good faith prior to filing the present

 4   discovery motion, as is required by both FRCP 37(2)(B) and Local Rule 37-1. FRCP 37(2)(B)

 5   (“The motion [to compel] must include a certification that the movant has in good faith conferred

 6   or attempted to confer with the person or party failing to make the discovery in an effort to secure

 7   the information or material without court action.”); Civil L.R. 37-1(a) (“The Court will not

 8   entertain a request or a motion to resolve a disclosure or discovery dispute unless…counsel have

 9   previously conferred for the purpose of attempting to resolve all disputed issues”); see, e.g.,

10   Ellsworth v. Schneider Nat’l Carriers, Inc., 2021 WL 4620913, at *2 (C.D. Cal. 2021) (denying

11   plaintiff’s motion to compel for failing to comply with the requirements of Rule 37-1). Plaintiff’s

12   motion to compel should thus be denied for the additional reason that she has failed to comply

13   with the Court’s meet and confer requirement prior to filing this discovery Motion. See Panah v.

14   Dept. of Corrections and Rehabilitation, 2021 WL 1313086, at *5 (N.D. Cal. April 7, 2021)

15   (denying Plaintiff’s motion to compel as the parties did not meet and confer regarding discovery

16   disputes).

17           Defendants are not opposed to holding a Rule 26(f) conference and engaging in discovery

18   when the Court deems it appropriate. Defendants are opposed to undertaking any discovery

19   while discovery is stayed, and until the Court deems that Plaintiff has alleged a viable claim for
20   which relief can be granted.1

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24     Plaintiff also requests that the Court grant her an extension of time to file a second amended
     complaint until the Rule 26(f) conference is held and discovery has been responded to. Plaintiff
25   has already amended her complaint once, which is all that she is entitled to do as a matter of
     course. FRCP Rule 15(a)(1). If Plaintiff wishes to amend her complaint again, she can only do
26   so with Defendants’ consent or with the Court’s leave. As Defendants asserted in their Motion to
     Dismiss Plaintiff’s FAC, Dkt. 16, leave to amend would be inappropriate here. Plaintiff has
27   already amended her complaint at least once with knowledge of the deficiencies Defendants
     identified in the original complaint—and Plaintiff has failed to cure them. Lopez v. Smith, 203
28   F.3d 1122, 1127 (9th Cir. 2000) (en banc) (Leave to amend is inappropriate if “the pleading could
     not possibly be cured by the allegations of other facts.”).
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 1   IV.    CONCLUSION

 2          For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiff’s

 3   motion to compel.

 4

 5   Dated: July 7, 2022                                   ORRICK, HERRINGTON & SUTCLIFFE
                                                           LLP
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 7                                                   By:   /s/ Jacob M. Heath
 8                                                         JACOB M. HEATH

 9                                                         Attorney for Defendant
                                                           META PLATFORMS, INC.
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